Case 0:23-cv-62179-RKA Document 7-9 Entered on FLSD Docket 11/20/2023 Page 1 of 1

OFFICE OF UNDERGRADUATE ADMISSIONS
3301 College Avenue

. Fort Lauderdale, Florida 33314-7796
Florida +1 (954) 262-8000
NOVA SOUTHEASTERN 800-338-4723, ext. 28000
UNIVERSITY

admissions@nova.edu
www.nova.edu/admissions

September 21, 2022

Kristina Solovyoff
18 Flavelle Dr, Port Moody BC V3H4L4
Canada

Dear Kristina Solovyoff,

Congratulations! After careful evaluation of your submitted application and academic records, I am pleased to inform you
that the Admissions Committee of Nova Southeastern University has conditionally admitted you to the university. This
admission is on a conditional basis until all of the required documents for enrollment have been submitted and approved,
as outlined in the Memorandum of Understanding between Nova Southeastern University and Open Hearts Language
Academy. Upon completion of all requirements at Nova Southeastern University and Open Hearts Language Academy,
you will be enrolled in the next available semester to begin your studies with Nova Southeastern University.

It is my understanding that it is your intention to enroll in the College of Arts and Science for the Bachelor of Arts with a
Concentration in Dance degree program as a regular degreed candidate starting in the 2023 Fall Semester.

If you do not complete the enrollment agreement and register for classes for the assigned semester of study, you will lose
your admission status. Therefore, please make an appointment with a Nova Southeastern University representative to seek
academic guidance, discuss class schedules, and register for classes upon completion of studies at Open Hearts Language
Academy.

All of our staff, faculty, and I are here to fully support your educational endeavors, your pursuit toward excellence, and the
achievement of your dreams. Again, welcome to Nova Southeastern University!

Sincerely,

AcoZz_ _>

Dr. Anthony J. DeNapoli
Dean of Undergraduate Admissions and International Affairs
